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                           UNITED STATES        DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



OPTUM,    INC. and OPTUM SERVICES,
Inc.,
        Plaintiffs,

                V.                                       C.A.   No.   19-10101-MLW


DAVID WILLIAM SMITH,
        Defendant.




                                  MEMORANDUM AND ORDER


WOLF, D.J.                                                            February 5, 2019
        Plaintiffs Optum,           Inc. and Optum Services,             Inc.     ("Optum")

have     sued        defendant    David    Smith   for    allegedly      violating       his

contractual obligations concerning unfair competition and trade
secrets, and the federal and Massachusetts statutes that protect

trade secrets as well.               An Arbitration Policy that is part of

Smith's contract with Optum requires that this dispute be resolved

by binding arbitration. See Docket No. 25-1 at 2 of 8. However, it
also provides that:

         [T]his Policy does not preclude either an employee or
         [Optum] from seeking emergency or temporary injunctive
                     in a court of law in accordance with applicable
         law.    However,        after    the   court    has    issued    a     ruling
         concerning the emergency or temporary injunctive relief,
         the employee and [Optum] are required to submit the
         dispute to arbitration pursuant to this Policy.
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Id. at 3 of 8 (emphasis added) . In addition, the Arbitration Policy

provides     that     disputes       concerning       its    interpretation          and
arbitrability are to be decided by an arbitrator.

     Optum moved for a temporary restraining order ("TRO") that
would,    among other things,            prohibit Smith from working for a

company known as "ABC," which Optum alleges is a competitor, and
from disclosing        or    using   Optum's     confidential        information to

benefit     ABC.     Smith   responded      by   moving      to    have     this     case

immediately ordered to             arbitration on all             issues,    including
whether     this    court    has   the    authority     to   issue    a     TRO    before

compelling arbitration on the merits, which Optum agrees will be
required     after    the    court    decides     its    request      for    temporary
injunctive relief.

     At a hearing on January 30, 2019, the court found that it had

the authority to issue a TRO before compelling arbitration. See
Jan. 30, 2019 Tr. at 18-21. Although no order had entered, later
that day Smith filed a notice of appeal and a motion to stay
proceedings in this court pending a decision of its appeal. Optum
opposed the request for a stay, arguing in part that it will be
irreparably harmed if the court does not decide its motion for a
TRO or at least impose conditions on the stay that are comparable
to the TRO i t is seeking.

         On February 5, 2019, the court issued a Memorandum and Order
amplifying the reasons stated in court on January 30, 2019 for its
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finding that it has the authority to decide the pending motion for
a TRO. See Docket No.    48. Accordingly, the court denied Smith's

motion to compel arbitration immediately. See id.

     There is, therefore, now an appealable order. See 9 U.S.C.

§16(a); Fed. R. App. P. 4(a)(2). For the reasons explained below,

the court is staying this case pending appeal and not imposing any
conditions on the stay. However, in view of the contention that

Optum will suffer ongoing irreparable harm during the pendency of
the appeal, the court suggests that the First Circuit decide de
novo whether the stay should be continued or lifted, or attempt to

decide the appeal expeditiously.

     The Federal Arbitration Act       ("FAA"),   9 U.S.C.   §1 ^     seq.,

authorizes a party to pursue an interlocutory appeal of a district
court's denial of a motion to compel arbitration. S^ 9 U.S.C.

§16 (a) (1) (B). However, the FAA does not state whether a district
court must stay proceedings pending such an appeal. The First
Circuit has not addressed this question.

     In Griqqs v. Provident Consumer Discount Co., 459 U.S. 56
 (1982), the Supreme Court explained that "[t]he filing of a notice
of appeal is an event of jurisdictional significance" that "confers
jurisdiction on the court of appeals and divests the district court
of its control over those aspects of the case involved in the
appeal," id. at 58.
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     Applying Griggs to the FAA,                    the Fourth,    Seventh,   Tenth,

Eleventh, and D.C. Circuits, constituting a majority of circuits

to have considered the issue, have held that the filing of a notice

of   appeal       of    a     denial    of    a   motion   to   compel   arbitration
automatically stays proceedings in the district court unless the

appeal is "frivolous."^ See, e.g.. Levin v. Alms & Assocs., Ltd.,
634 F.Sd 260, 264-66 (4th Cir. 2011); Bradford-Scott Data Corp. v.

Physician Comput. Network, 128 F.Sd 504 (7th Cir. 1997); McCauley
V. Halliburton Energy Servs., Inc., 413 F.Sd 1158, 1160-62 (10th

Cir. 2005); Blinco v. Green Tree Servicing, LLC, 366 F.Sd 1249,
1251-52 (11th Cir. 2004); Bombardier Corp. v. Nat'1 R.R. Passenger

Corp., 2002 WL 31818924, *1 (D.C. Cir. Dec. 12, 2002) (per curiam) .
These courts           reason that whether a dispute              is   arbitrable   is
necessarily an "aspect" of the underlying dispute. For example,
the Seventh Circuit wrote that "[w]hether the case should be
litigated in the district court is not an issue collateral to the
question presented by an appeal under [the FAA]," but is rather
"the mirror image of the question presented on appeal." Bradford-
Scott,      128        F.Sd    at      505.   Accordingly,      "[c]ontinuation     of
proceedings in the district court largely defeats the point of the


1 While the court believes Smith's appeal is unmeritorious, because
the appeal relies on the Supreme Court's recent decision in Henry
Schein, Inc. v. Archer & White Sales, Inc., No. 17-1272, 2019 WL
122164 (Jan. 8"^^ 2019) , the court does not find that it should be
characterized as "frivolous." See Docket No. 48 at 7-10.
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appeal and creates a risk of inconsistent handling of the case by

two tribunals."     Id.


     The Second,       Fifth,     and Ninth Circuits have held that the

filing of a notice of appeal of a denial of a motion to compel
arbitration     does      not    automatically    stay   proceedings       in   the

district court. See, e.g.. Motorola Credit Corp. v. Uzan, 388 F.Sd

39, 53-54 {2d Cir. 2004); Weinqarten Realty Inv'rs v. Miller, 661
F.3d 904, 907-10 (5th Cir. 2011); Britton v. Co-Op Banking Grp.,

916 F.2d 1405, 1411-12 (9th Cir. 1990). These courts reason that

whether a dispute is arbitrable is not necessarily an "aspect                    of

the underlying dispute. For example, the Fifth Circuit wrote that
an issue in the district court is only an "aspect" of the case on

appeal if "the appeal and the claims before the district court
address the same legal question." Weinqarten, 661 F.3d at 909. "A
determination on the arbitrability of a claim has an impact on

what arbiter—judge or arbitrator—will decide the merits, but
that determination does not itself decide the merits.                1^»

        As indicated earlier, the First Circuit has not yet decided

whether     a   district        court   must   stay   proceedings   pending      an

interlocutory appeal under 9 U.S.C. §16 (a). Two district judges in
the First Circuit have accepted the majority view. See Combined

Energies v. CCI, Inc., 495 F. Supp. 2d 142 (D. Me. 2007) (Woodcock,
j. ) ; Interqen N.V. v. Grina, 2003 WL 1562200 (D. Mass. Feb. 21,
2003)    (Keeton,   J.).
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        However,      none of the reported cases have involved what at

least seven Courts of Appeals, including the First Circuit, have

found    to    be     the   district    court's    equitable       power   to    issue   a

preliminary         injunction     to    preserve     the        status    quo    pending
arbitration in order to protect the ability of the arbitrator to

provide       meaningful      relief    if   the    plaintiff       prevails      in   the
arbitration. See Teradyne, Inc. v. Mostek Corp., 797 F.2d 43, 51

(1st Cir.      1986); Blumenthal v.          Merrill Lynch,         Pierce,      Fenner &

Smith, Inc., 910 F.2d 1049, 1053 (2d Cir. 1990); Ortho Pharm. Corp.

V. Amqen, Inc., 882 F.2d 806, 812 (3d Cir. 1989); Merrill Lynch,

Pierce, Fenner & Smith, Inc. v. Bradley, 756 F.2d 1048, 1050 (4th

Cir.    1985);      Performance Unlimited,         Inc.     v.    Questar Publishers,

Inc., 52 F.3d 1373, 1380               (6th Cir. 1995); Sauer-Getriebe KG v.

White Hydraulics, Inc., 715 F.2d 348, 351 (7th Cir. 1983); Toyo

Tire Holdings of Americas Inc. v. Cont'l Tire N. Am., Inc., 609
F.3d 975,       981    (9th Cir. 2010); Merrill Lynch,               Pierce,     Fenner &

Smith, Inc. v. Button, 844 F.2d 726, 726-28 (10th Cir. 1988); cf.
Peabody Coalsales Co. v. Tampa Elec. Co., 36 F.3d 46, 47—48 (8th
Cir. 1994) . As explained in the February 5, 2019 Memorandum and
Order (Docket No. 48), Smith also clearly agreed in his employment
contract with Optum that the court would have the authority to

order temporary injunctive relief before a dispute is submitted to
arbitration.
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       Nevertheless, the court finds that it should stay this case

during the pendency of Smith's appeal with the expectation that

the First Circuit will be asked to decide ^             novo whether the stay

should be continued or lifted. As explained earlier,                      under the

majority view, a stay is automatic because an appeal always divests
a district court of jurisdiction. See, e.g.. Levin,                     634 F.Sd at

264-66.


       The minority recognizes that "[t]he filing of a notice of

appeal . . . confers jurisdiction on the court of appeals and
divests the district court of its control over those aspects of

the    case    involved in the appeal.           Motorola,       388    F.3d at   53

(quoting Griggs, 459 U.S. at 58). However, in Motorola, the Second
Circuit reasoned that a trial on the merits was not an aspect of

an appeal of a decision denying a motion to compel arbitration.
See    id.    It   noted   that   in   In   re   Salomon    Inc.       Shareholders'
Derivative Litigation, 68 F.3d 554, 556 (2d Cir. 1995), the Second

Circuit had twice denied requests for a stay of a trial on the

merits       pending    an appeal.     In   Motorola,      the     Second Circuit
2:0affirmed its view that "further district court proceedings in a

case    are not        'involved in'   the appeal       of an      order refusing
arbitration and that a district court therefore has jurisdiction

to proceed with a case absent a stay from [the Second Circuit].
388    F.3d at 54,
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     A decision by this court on Optum's motion for a TRO would be

comparable to the trials on the merits conducted during the
pendency of the appeals in In re Salomon and Motorola. However,

even if the First Circuit rejects the majority view, it might find

that the pending motion for a TRO is an "aspect [] of the case

involved in the appeal." Griggs, 459 U.S. at 58. Accordingly, the

court finds it most appropriate to grant Smith's request for a

stay without addressing the merits of that request, and to provide
Optum the opportunity to ask the First Circuit to decide ^            novo
whether the stay should be continued or lifted.

     The court has considered whether it has the authority to

impose conditions on a stay to minimize the risk that Optum will
suffer irreparable harm during the pendency of Smith's appeal. It
would not if the majority of circuits are correct and this court
has been divested of all jurisdiction by Smith's filing of a notice

of appeal. The All Writs Act, 28 U.S.C. §1651 (a), provides that
"all courts established by Act of Congress may issue all writs

necessary or appropriate in aid of their respective jurisdictions
and agreeable to the usages and principles of law." "As the text
of the All Writs Act recognizes, a court's power to issue any form
of   relief—extraordinary or      otherwise    is   contingent   on that
court's subject-matter jurisdiction over the case or controversy."
United States v. Denedo, 556 U.S. 904, 911 (2009). Therefore,          the
All Writs Act permits writs in aid of jurisdiction, but does not
                                    8
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itself create jurisdiction." Stephenson v. Dow Chem. Co.^ 346 F. 3d

19, 21 {2d Cir. 2003).

     In view of the foregoing, it is hereby ORDERED that Smith's

Motion to Stay Proceedings (Docket No. 39) is ALLOWED and this
case is STAYED with the understanding that Optum may ask the First

          to decide de novo whether the stay should be continued or

lifted.




                                        UNITED STATES DISTRICT JUDGE
